Case 1:21-cr-00555-RCL Document 47-1 Filed 07/12/22 Page 1 of 2

UNITED STATES DISTRICT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Case No. 21-cr-00555-RCL

PAMELA HEMPHILL,

Neue! Nee ee” Yee” Nee” Nee” “ee”

Defendant.

NOTICE OF APPEAL

Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby given
that Defendant Pamela Anne Hemphill, Pro Se, hereby appeals to the United States
Court of Appeals for the District of Columbia Circuit from the Judgment and

Sentence issued by the United States District Court for the District of Columbia.

Date: July 10, 2022 Respectfully Submitted,

/s/Pamela Anne Hemphill
Pamela Anne Hemphill,
514 S. 12" Street, apt 315
Boise, 1D 83702
Case 1:21-cr-00555-RCL Document 47-1 Filed 07/12/22 Page 2 of 2

CERTIFICATE OF SERVICE
I, Pamela Anne Hemphill, hereby certify that on this day, July 10, 2022, I caused a copy of
the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.

/s/ Pamela A. Hemphill
Pamela A. Hemphill
